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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS


  J.J.P.B.,

                         Plaintiff,

                         v.                         No. 7:23-cv-00133

  United States of America, et al.,                 Judge Micaela Alvarez

                         Defendants.




                               NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that Steve C. Herzog of the law firm Paul, Weiss,

 Rifkind, Wharton & Garrison LLP, located at 1285 Avenue of the Americas, New York,

 NY 10019, is hereby entering an appearance as counsel of record for Plaintiff J.J.P.B. on

 behalf of himself and his minor child, A.E.P.F., in the above-captioned action.

         Please serve all notices given or required to be given in these proceedings and all

 papers served or required to be served in these proceedings upon this office via ECF or at

 the office, postal address, electronic mail addresses, and/or facsimile numbers listed below.
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 Dated:   New York, New York
          May 3, 2023

                                     PAUL, WEISS, RIFKIND,
                                     WHARTON & GARRISON LLP

                                     By:   /s/ Steven C. Herzog
                                           Steven C. Herzog
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                                           Attorney for Plaintiff J.J.P.B. on behalf of
                                           himself and his minor child A.E.P.F.
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                              CERTIFICATE OF SERVICE

        I hereby certify that on May 3, 2023, a true and correct copy of the foregoing

 document was served in accordance with the Local Rules on all counsel of record via the

 Court’s electronic filing system.

                                                     /s/ Steven C. Herzog

                                                     Steven C. Herzog
